           CASE 0:19-cr-00247-PAM Doc. 33 Filed 02/27/20 Page 1 of 3




                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA
                             Criminal No. 19-247 (PAM)

 UNITED STATES OF AMERICA,                  )
                                            )
                     Plaintiff,             )
                                            )
              v.                            )   ORDER OF DETENTION
                                            )
 TATHONY M. BROWN,                          )
                                            )
                     Defendant.             )

      This matter came before the Court on February 21, 2020, for a preliminary and

detention hearing following a petition alleging violations of Mr. Brown’s Supervised

Release conditions. The United States was represented by Assistant United States Attorney

Katharine T. Buzicky. Mr. Brown appeared in custody and was represented by Lisa M.

Lopez. After consideration of the Petition on Supervised Release, the alleged violations,

and Mr. Brown’s preliminary hearing waiver, the Court concludes that probable cause

exists to believe that Mr. Brown violated the conditions of his supervised release. The

Court further concludes Mr. Brown has not established by clear and convincing evidence

that he will not pose a danger to the community. Accordingly, Mr. Brown shall be detained

pending a final revocation hearing.

                                  FINDINGS OF FACT

   1. Mr. Brown is on supervised release after serving a sentence for Felon in Possession

of a Firearm. On November 19, 2019, Mr. Brown was charged in Hennepin County with

Theft-Take/Drive a Motor Vehicle without Owner Consent (Felony) and Fleeing a Peace

Officer in a Motor Vehicle (Felony). On or about December 25, 2019, Mr. Brown left his
            CASE 0:19-cr-00247-PAM Doc. 33 Filed 02/27/20 Page 2 of 3




Residential Reentry Center without permission and was subsequently terminated from

placement. As a result of these violations, the Court issued an arrest warrant for Brown to

show cause why his release should not be revoked. Those proceedings were continued and

Mr. Brown remained on release with special conditions. Since then, Mr. Brown has

maintained employment at a Wendy’s Restaurant.

   2. Since the last continuance, Mr. Brown has violated his conditions of release on two

occasions. On February 5, 2020, Mr. Brown tested positive for marijuana. On February17,

2020, Minneapolis Police arrested Mr. Brown for Domestic Assault-Misdemeanor.

   3. Mr. Brown waived his right to a preliminary hearing on February 21, 2020.

                              CONCLUSIONS OF LAW

       Under Federal Rules of Criminal Procedure 32.1(a)(6) and 18 U.S.C. § 3143(a)(1),

a person who is awaiting further proceedings on a Petition on Supervised release shall be

detained unless the person establishes by clear and convincing evidence that the person

will not flee or pose a danger to any other person or to the community. On this record, Mr.

Brown has not established by clear and convincing evidence that he will not pose a danger

to any other person or the community or appear at future proceedings. Lesser conditions

have been utilized without success. The Court acknowledges Mr. Brown’s effort to

maintain employment. The Court is also aware that Mr. Brown’s mental health evaluation

is has not been completed. If it can be arranged, the Court will consider a short furlough

in order for Mr. Brown to complete his mental health evaluation.

       For the foregoing reasons, IT IS HEREBY ORDERED that:

       1.     The motion of the United States for detention is GRANTED;
           CASE 0:19-cr-00247-PAM Doc. 33 Filed 02/27/20 Page 3 of 3




      2.       Mr. Brown is committed to the custody of the Attorney General;

      3.       Mr. Brown shall be detained pending the final revocation hearing;

      4.       Mr. Brown shall be afforded reasonable opportunity to consult privately with

counsel; and

      5.       Upon Order of the Court, the person in charge of the corrections facility in

which Mr. Brown is confined shall deliver Mr. Brown to the United States Marshal for the

purpose of appearance in connection with further court proceedings.

Dated: February 27, 2020


                                          s/Katherine M. Menendez
                                          KATHERINE M. MENENDEZ
                                          United States Magistrate Judge
